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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
Plaintiff,

Case No. 21-cr-365-DLF

DOUGLAS K. WANGLER and
BRUCE J. HARRISON,

Defendants.

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WAIVER OF POTENTIAL CONFLICT OF INTEREST

Douglas K. Wangler and Bruce J. Harrison acknowledge that they have been advised that
a potential conflict of interests exists if Attorney Baku N. Patel of Patel Law, P.C. is to represent
Mr. Wangler and Mr. Harrison, concurrently, in the prosecution of United States of America v.
Douglas K. Wanger and Bruce J. Harrison, United States District Court for the District of
Columbia Case No. 2021-cr-365 DLF.

Notwithstanding this disclosure, Mr. Wanger and Mr. Harrison desire for Attorney Patel to
represent them concurrently.

Attorney Patel reasonably believes that he will be able to provide competent and diligent
representation to both Mr. Wanger and Mr. Harrison; the representation is not prohibited by law;
the representation does not involve the assertion of a claim or defense by Mr. Wangler or Mr.
Harrison against the other; and Mr. Wangler and Mr. Harrison give informed consent to concurrent
representation by Attorney Patel in the heretofore-referenced prosecution.

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DOUGLAS K. WANGLER@ BRUCE J. HARRISON
